      CASE 0:05-cr-00309-MJD-FLN            Doc. 147    Filed 12/19/05    Page 1 of 1




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                              Criminal No.: 05-309 (MJD/FLN)

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                                     ORDER

(1) GUY MAXWELL CARLSON,

                Defendant.

                Defendant Carlson has filed a waiver of speedy trial in this case. The

government has filed no objections. Therefore, the Court will grant the waiver of

speedy trial.

                Based on all the files, records and proceedings herein, IT IS HEREBY

ORDERED, that:

                1.      Defendant Carlson’s waiver of speedy trial [docket # 146] is

GRANTED;

                2.      The time between December 9, 2005, and January 12, 2006, shall

be excluded in computing the time within which the trial in this matter must commence

under the Speedy Trial Act pursuant to Title 18, United States Code, Section

3161(h)(8)(A). The ends of justice will be served by continuing the trial date. This

finding is based upon the Court’s conclusion that the failure to grant such a

continuance would unreasonably deny the parties a right to a fair and just hearing.

Dated: December 19, 2005
                                            s/ Michael J. Davis
                                            MICHAEL J. DAVIS
                                            United States District Court Judge
